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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


FEDEQ DV004 LLC, et al.,                      )
                                              )
       Plaintiffs,                            )
                                              )       Civil Docket No. 2:19-cv-00382-JHR
v.                                            )
                                              )
CITY OF PORTLAND, et al.,                     )
                                              )
                                              )
       Defendants.                            )


       DEFENDANT JON JENNINGS’ MOTION TO DIRECT ENTRY OF FINAL
        JUDGMENT UNDER RULE 54(b) OF THE FEDERAL RULES OF CIVIL
                            PROCEDURE


       NOW COMES Defendant Jon Jennings, by and through undersigned counsel and hereby

moves the Court to direct entry of final judgment of dismissal with prejudice and without costs in

favor of Defendant Jon Jennings. The parties have stipulated to the dismissal without prejudice

of all other claims and counterclaims in the case. See ECF No. 163. On January 22, 2021, this

Court issued decision to dismiss with prejudice Plaintiffs’ claims against Jon Jennings (ECF No.

104), and on September 27, 2021 this Court issued decision denying motion for reconsideration

of the dismissal with prejudice (ECF No. 153). Under Rule 54(b) of the Federal Rules of Civil

Procedure, the Court may “direct entry of a final judgment as to one or more, but fewer than all

claims or parties if the court expressly determines that there is no just reason for delay.” Because

the parties have stipulated to the dismissal without prejudice of all other claims and

counterclaims (see ECF No. 163), there is no just reason to delay separate entry of judgment in

favor of Jon Jennings with prejudice, and without costs.




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       WHEREFORE, Defendant Jon Jennings requests that the Court enter final judgment in

his favor with prejudice and without costs, in accordance with the Court’s decisions on those

claims against Defendant Jon Jennings in ECF Nos. 104 and 153.




DATED: November 16, 2021                     NORMAN, HANSON & DeTROY, LLC


                                             /s/ Russell B. Pierce, Jr.
                                             Russell B. Pierce, Jr., Esq.

                                             Attorney for Defendant Jon Jennings

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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2021, I electronically filed DEFENDANT JON

JENNINGS’ MOTION TO DIRECT ENTRY OF FINAL JUDGMENT UNDER RULE

54(b) OF THE FEDERAL RULES OF CIVIL PROCEDURE with the Clerk of Court using

the CM/ECF system which will send notification of such filing to all counsel of record.

                                             /s/ Russell B. Pierce, Jr.
                                             Russell B. Pierce, Jr., Esq.
                                             Attorney for Defendants

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